Case 3:21-cv-01417-AJB-AGS Document 1-1 Filed 08/06/21 PageID.8 Page 1 of 2




                           EXHIBIT A
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